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                     EXHIBIT 2
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Log                                                                                                                                                                                          Privilege                Doc
 ID   Email Sent Date   Email From            Email To                      CC Address                     Subject Matter                                                  Type of Privilege Action      Page Count   Type
                                                                                                                                                                           AC Privilege and
                                                                                                                                                                           Work
                                                                                                                                                                           Product/joint
                                                                                                           Email chain with Giuffre, Edwards and Cassell re attorney       defense/commo
 1    2/12/2015 6:14    Virginia Giuffre      smccawley@bsfllp.com                                         impressions and legal advice relating to deposition testimony   n interest        Withheld        3        msg
                                                                                                                                                                           AC Privilege and
                                                                                                                                                                           Work
                                              Smccawley@BSFLLP.com,br                                                                                                      Product/joint
                                              ad@pathtojustice.com,robie                                                                                                   defense/commo
 2    2/16/2015 1:05    StanPottinger@aol.com jJane Doe 2                                                  Discussion of evidence among client and attorneys               n interest        Withheld        2        msg

                                                                                                                                                                           Attorney
                                                                                                                                                                           Client/joint
                                                                                                                                                                           defense/commo
                                                                                                           Email chain with Giuffre, McCawley, Pottinger and Edwards re    n interest/work
 3    2/16/2015 15:37   Virginia Giuffre      Smccawley@BSFLLP.com                                         information provided by client to assist in legal advice        product         Withheld          2        msg

                                                                                                                                                                           Attorney
                                                                                                                                                                           Client/joint
                                                                                                                                                                           defense/commo
                                                                                                           Email chain with Giuffre, McCawley, Pottinger and Edwards re    n interest/work
 4    2/16/2015 16:15   Sigrid McCawley       Jane Doe 2                                                   information provided by client to assist in legal advice        product         Withheld          2        msg

                                                                                                                                                                           Attorney
                                                                                                                                                                           Client/joint
                                                                                                                                                                           defense/commo
                                                                                                           Email chain with Giuffre, McCawley, Pottinger and Edwards re    n interest/work
 5    2/16/2015 16:24   Virginia Giuffre      Smccawley@BSFLLP.com                                         information provided by client to assist in legal advice        product         Withheld          2        msg

                                                                                                                                                                           Attorney
                                                                                                                                                                           Client/joint
                                                                                                                                                                           defense/commo
                                                                                                           Email chain with Giuffre, McCawley, Pottinger and Edwards re    n interest/work
 6    2/16/2015 16:24   Sigrid McCawley       Jane Doe 2                                                   information provided by client to assist in legal advice        product          Withheld         2        msg




                                                             -
                                                                                                                                                                           AC Privilege and
                                              StanPottinger@aol.com,bra                                                                                                    Work
                                              d@pathtojustice.com,cassell                                                                                                  Product/joint
                                              p@law.utah.edu,Jane Doe 2                                                                                                    defense/commo
 7    2/21/2015 16:45   Sigrid McCawley       Jane Doe 2                    Smccawley@BSFLLP.com           Discussion of evidence among client and attorneys               n interest       Withheld         2        msg



                                                               Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
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Log                                                                                                                                                                                     Privilege                Doc
 ID   Email Sent Date   Email From              Email To                      CC Address                         Subject Matter                                       Type of Privilege Action      Page Count   Type
                                                                                                                                                                      AC Privilege and
                                                                                                                                                                      Work
                                                                                                                                                                      Product/joint
                                                                                                                                                                      defense/commo
 8    2/21/2015 16:58   Virginia Giuffre        Smccawley@BSFLLP.com                                             Discussion of evidence among client and attorney     n interest        Withheld        2        msg
                                                                                                                                                                      AC Privilege and
                                                                                                                                                                      Work
                                                                              StanPottinger@aol.com,cassellp@l                                                        Product/joint
                                                                              aw.utah.edu,Jane Doe 2                                                                  defense/commo
 9    2/21/2015 17:05   Brad Edwards            Smccawley@BSFLLP.com          ■                                  Discussion of evidence among client and attorneys    n interest       Withheld         2        msg
                                                                                                                                                                      AC Privilege and
                                                                                                                                                                      Work
                                                                                                                                                                      Product/joint
                                                                                                                                                                      defense/commo
10    2/21/2015 17:10   Sigrid McCawley         Jane Doe 2                                                       Discussion of evidence among client and attorney     n interest       Withheld         3        msg
                                                                                                                                                                      AC Privilege and
                                                                                                                                                                      Work
                                                                                                                                                                      Product/joint
                                                                                                                                                                      defense/commo
11    2/21/2015 17:16   Virginia Giuffre        Smccawley@BSFLLP.com                                             Discussion of evidence among client and attorneys    n interest       Withheld         3        msg
                                                                                                                                                                      AC Privilege and
                                                                                                                                                                      Work
                                                                              StanPottinger@aol.com,brad@pat                                                          Product/joint
                                                                              htojustice.com,cassellp@law.utah.                                                       defense/commo
12    2/23/2015 14:21   Sigrid McCawley         Jane Doe 2                    edu                               Discussion of thoughts and impressions of attorneys   n interest       Withheld         1        msg
                                                                                                                                                                      AC Privilege and
                                                                                                                                                                      Work
                                                                                                                                                                      Product/joint
                                                                       Jane



13    2/23/2015 14:29   StanPottinger@aol.com
                                                Smccawley@BSFLLP.com,  I brad@pathtojustice.com,cassellp@
                                                                         law.utah.edu                     Discussion of thoughts and impressions of attorneys
                                                                                                                                                                      defense/commo
                                                                                                                                                                      n interest       Withheld         1        msg
                                                                                                                                                                      AC Privilege and
                                                                                                                                                                      Work
                                                                              StanPottinger@aol.com,brad@pat                                                          Product/joint
                                                                              htojustice.com,cassellp@law.utah.                                                       defense/commo
14    2/23/2015 16:01   Virginia Giuffre        Smccawley@BSFLLP.com          edu                               Discussion of thoughts and impressions of attorneys   n interest       Withheld         1        msg




                                                              Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
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Log                                                                                                                                                                                        Privilege                Doc
 ID   Email Sent Date   Email From         Email To                  CC Address                        Subject Matter                                                    Type of Privilege Action      Page Count   Type
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                                                                                         Product/joint
                                                                                                       Email chain with McCawley, Giuffre, and Paralegals re seeking     defense/commo
15    2/24/2015 17:51   Sigrid McCawley    Jane Doe 2                                                  information to assist in legal advice, with attachment            n interest        Withheld        4        msg
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                                                                                         Product/joint
                                                                                                                                                                         defense/commo
16                                                                                                     Attached case research                                            n interest       Withheld        14         rtf
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                                                                                         Product/joint
                                                                                                       Email chain with Giuffre, McCawley and legal assistant re legal   defense/commo
17    2/26/2015 12:59   Virginia Giuffre   Smccawley@BSFLLP.com                                        document, with attachment                                         n interest       Withheld         1        msg
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                                                                                         Product/joint
                                                                                                                                                                         defense/commo
18                                                                                                     Attached draft legal document                                     n interest       Withheld         1        jfif
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                                                                                         Product/joint
                                                                                                       Email with Giuffre, McCawley, Edwards and Henderson re            defense/commo
19    2/28/2015 17:47   Virginia Giuffre   Smccawley@BSFLLP.com                                        discussion of draft statement                                     n interest       Withheld         3        msg
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                                                                                         Product/joint
                                                                     Smccawley@BSFLLP.com,brad@pa Email chain with Giuffre, Edwards, McCawley, Henderson and             defense/commo
20    3/13/2015 17:29   Stan Pottinger     Jane Doe 2                thtojustice.com              Pottinger re legal advice on media issues                              n interest       Withheld         2        msg
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                                                                                         Product/joint
                                                                                                       Email chain with Giuffre, Edwards, McCawley and Pottinger re      defense/commo
21    3/13/2015 17:49   Virginia Giuffre   stanpottinger@aol.com                                       legal advice on media issues                                      n interest       Withheld         2        msg




                                                           Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
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Log                                                                                                                                                                                            Privilege                Doc
 ID   Email Sent Date   Email From          Email To                           CC Address                       Subject Matter                                               Type of Privilege Action      Page Count   Type
                                                                                                                                                                             AC Privilege and
                                                                                                                                                                             Work
                                                                                                                                                                             Product/joint
                                                                               Smccawley@BSFLLP.com,brad@pa Email chain with Giuffre, Edwards, McCawley, Henderson and       defense/commo
22    3/13/2015 17:56   StanPottinger@aol.com Jane Doe 2                       thtojustice.com              Pottinger re legal advice on media issues                        n interest        Withheld        3        msg
                                                                                                                                                                             AC Privilege and
                                                                                                                                                                             Work
                                                                                                                                                                             Product/joint
                                                                    Jane Doe
                                            StanPottinger@aol.com,■                                             Email chain with Giuffre, Edwards, McCawley, Henderson and   defense/commo
23    3/13/2015 18:00   Brad Edwards                                           Smccawley@BSFLLP.com             Pottinger re legal advice on media issues                    n interest       Withheld         3        msg
                                                                                                                                                                             AC Privilege and
                                                                                                                                                                             Work
                                                                                                                                                                             Product/joint
                                                                                                                Email chain with Giuffre, Edwards, McCawley, Henderson and   defense/commo
24    3/13/2015 18:24   Virginia Giuffre    brad@pathtojustice.com                                              Pottinger re legal advice on media issues                    n interest       Withheld         4        msg
                                                                                                                                                                             AC Privilege and
                                                                                                                                                                             Work
                                                                                                                                                                             Product/joint
                                                                                                                Email chain with Giuffre, Edwards, McCawley, Henderson and   defense/commo
25    3/13/2015 18:25   Virginia Giuffre    StanPottinger@aol.com                                               Pottinger re legal advice on media issues                    n interest       Withheld         3        msg
                                                                                                                                                                             AC Privilege and
                                                                                                                                                                             Work
                                                                                                                                                                             Product/joint
                                                                               Smccawley@BSFLLP.com,StanPotti Email chain with Giuffre, Edwards, McCawley, Henderson and     defense/commo
26    3/13/2015 21:53   Virginia Giuffre    brad@pathtojustice.com             nger@aol.com                   Pottinger re legal advice on media issues                      n interest       Withheld         4        msg
                                                                                                                                                                             AC Privilege and
                                                                                                                                                                             Work
                                                                                                                                                                             Product/joint
                                                                                                                Email chain with Giuffre, Edwards, McCawley, Henderson and   defense/commo
27    3/13/2015 23:38   Brad Edwards        Jane Doe 2                                                          Pottinger re legal advice on media issues                    n interest       Withheld         4        msg
                                                                                                                                                                             AC Privilege and
                                                                                                                                                                             Work
                                                                                                                                                                             Product/joint
                                                                                                                Email chain with Giuffre, Edwards, McCawley, Henderson and   defense/commo
28    3/13/2015 23:40   Virginia Giuffre    brad@pathtojustice.com                                              Pottinger re legal advice on media issues                    n interest       Withheld         4        msg




                                                           Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
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Log                                                                                                                                                                                              Privilege                Doc
 ID   Email Sent Date   Email From         Email To                         CC Address                    Subject Matter                                                       Type of Privilege Action      Page Count   Type

                                                                                                                                                                               Attorney
                                                                                                                                                                               Client/joint
                                           Smccawley@BSFLLP.com,br                                                                                                             defense/commo
                                           ad@pathtojustice.com,stan                                      Providing information to assist in legal advice re potential legal   n interest/work
29    3/17/2015 15:20   Virginia Giuffre   pottinger@aol.com                                              action, with attachments                                             product         Withheld          1        msg




                                                                  -
                                                                                                                                                                               Attorney
                                                                                                                                                                               Client/joint
                                           Smccawley@BSFLLP.com,br                                                                                                             defense/commo
                                           ad@pathtojustice.comJane Doe 2                                 Email chain with Giuffre, Edwards, Pottinger and McCawley re         n interest/work
30    3/17/2015 18:40   Stan                                                                              legal advice related to VRS                                          product         Withheld          1        msg


                                                                                                                                                                               Attorney
                                                                                                                                                                               Client/joint
                                                                                                                                                                               defense/commo
                                                                                                          Email chain with Giuffre, Edwards, Pottinger and McCawley re         n interest/work
31    3/17/2015 19:42   Virginia Giuffre   stanpottinger@aol.com                                          legal advice related to VRS                                          product         Withheld          1        msg


                                                                                                                                                                               Attorney
                                                                                                                                                                               Client/joint
                                                                     Jane
                                           brad@pathtojustice.com,   I
                                                                ,stan aortiz@BSFLLP.com,brittany@path Email chain with Giuffre, Edwards, Henderson, Pottinger,
                                                                                                                                                                               defense/commo
                                                                                                                                                                               n interest/work
32    3/20/2015 15:43   Sigrid McCawley    pottinger@aol.com          tojustice.com                   McCawley and BSF staff re legal advice related to VRS                    product         Withheld          1        msg


                                                                                                                                                                               Attorney
                                                                                                                                                                               Client/joint
                                                                                                                                                                               defense/commo
                                                                                                                                                                               n interest/work
33    3/20/2015 15:57   Sigrid McCawley    Jane Doe 2                                                     Providing legal advice re potential deposition                       product         Withheld          1        msg


                                                                                                                                                                               Attorney
                                                                                                                                                                               Client/joint
                                                                                                                                                                               defense/commo
                                                                                                          Email chain with Giuffre, Edwards, Henderson, McCawley and           n interest/work
34    3/24/2015 21:19   Sigrid McCawley    Jane Doe 2                       aortiz@BSFLLP.com             BSF staff re legal advice related to VRS                             product         Withheld          2        msg




                                                              Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
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Log                                                                                                                                                                                        Privilege                Doc
 ID   Email Sent Date   Email From         Email To                      CC Address                         Subject Matter                                               Type of Privilege Action      Page Count   Type

                                                                                                                                                                         Attorney
                                                                                                                                                                         Client/joint
                                                                                                                                                                         defense/commo
                                                                                                            Email chain with Giuffre, Edwards, Henderson, McCawley and   n interest/work
35    3/24/2015 21:21   Virginia Giuffre   Smccawley@BSFLLP.com          aortiz@BSFLLP.com                  BSF staff re legal advice related to VRS                     product         Withheld          2        msg


                                                                                                                                                                         Attorney
                                                                                                                                                                         Client/joint
                                                                                                                                                                         defense/commo
                                                                  Jane



36    3/24/2015 21:36   Andres Ortiz
                                           Smccawley@BSFLLP.com,  I                                         Email chain with Giuffre, Edwards, Henderson, McCawley and
                                                                                                            BSF staff re legal advice related to VRS
                                                                                                                                                                         n interest/work
                                                                                                                                                                         product         Withheld          2        msg


                                                                                                                                                                         Attorney
                                                                                                                                                                         Client/joint
                                                                                                                                                                         defense/commo
                                                                                                            Email chain with Giuffre, Edwards, Henderson, McCawley and   n interest/work
37    3/24/2015 22:21   Virginia Giuffre   aortiz@BSFLLP.com                                                BSF staff re legal advice related to VRS                     product         Withheld          3        msg


                                                                                                                                                                         Attorney
                                                                         Smccawley@BSFLLP.com,StanPotti                                                                  Client/joint
                                                                         nger@aol.com,brad@pathtojustice                                                                 defense/commo
                                                                         .com,brittany@pathtojustice.com,e Email chain with Giuffre, Edwards, Henderson, Pottinger,      n interest/work
38    3/26/2015 2:00    Sigrid McCawley    Jane Doe 2                    perez@BSFLLP.com                  McCawley and BSF staff re legal advice related to VRS         product         Withheld          1        msg


                                                                                                                                                                         Attorney
                                                                                                                                                                         Client/joint
                                                                                                                                                                         defense/commo
                                                                                                            Email chain with Giuffre, Edwards, Henderson, McCawley and   n interest/work
39    3/26/2015 2:21    Virginia Giuffre   Smccawley@BSFLLP.com                                             BSF staff re legal advice related to VRS                     product         Withheld          2        msg


                                                                                                                                                                         Attorney
                                                                                                                                                                         Client/joint
                                                                                                                                                                         defense/commo
                                                                                                            Email chain with Giuffre, Edwards, Henderson, McCawley and   n interest/work
40    3/26/2015 2:22    Sigrid McCawley    Jane Doe 2                                                       BSF staff re legal advice related to VRS                     product         Withheld          2        msg




                                                          Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
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Log                                                                                                                                                                                      Privilege                Doc
 ID   Email Sent Date   Email From           Email To                CC Address                        Subject Matter                                                  Type of Privilege Action      Page Count   Type

                                                                                                                                                                       Attorney
                                                                                                                                                                       Client/joint
                                                                                                                                                                       defense/commo
                                                                                                       Email chain with Giuffre, Edwards, Henderson, McCawley and      n interest/work
41    3/26/2015 3:00    Virginia Giuffre     Smccawley@BSFLLP.com                                      BSF staff re legal advice related to VRS                        product         Withheld          2        msg


                                                                                                                                                                       Attorney
                                                                                                                                                                       Client/joint
                                                                                                                                                                       defense/commo
                                                                                                       Giuffre conveying information sought by attorney to assist in   n interest/work
42    4/1/2015 21:32    Virginia Giuffre     Smccawley@BSFLLP.com                                      legal advice with attachments                                   product         Withheld          1        msg


                                                                                                                                                                       Attorney
                                                                                                                                                                       Client/joint
                                                                                                                                                                       defense/commo
                                                                                                       Providing draft legal document for client review, with          n interest/work
43    4/2/2015 7:01     Brittany Henderson   Jane Doe 2              eperez@BSFLLP.com                 attachment                                                      product         Withheld          1        msg
                                                                                                                                                                       AC Privilege and
                                                                                                                                                                       Work
                                                                                                                                                                       Product/joint
                                                                                                                                                                       defense/commo
44                                                                                                     Attached Draft legal document                                   n interest       Withheld        15        pdf
                                                                                                                                                                       AC Privilege and
                                                                                                                                                                       Work
                                                                                                                                                                       Product/joint
                                                                     brad@pathtojustice.com,eperez@ Email chain with Giuffre, Henderson, Edwards and legal             defense/commo
45    4/3/2015 15:32    Brittany Henderson   Jane Doe 2              BSFLLP.com                     assistant re legal document, with attachment                       n interest       Withheld         2        msg
                                                                                                                                                                       AC Privilege and
                                                                                                                                                                       Work
                                                                                                                                                                       Product/joint
                                                                                                                                                                       defense/commo
46                                                                                                     Attached draft legal document                                   n interest                       15        pdf




                                                           Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
                            Case 1:15-cv-07433-LAP Document 1326-3 Filed 01/04/24 Page 9 of 27




Log                                                                                                                                                                                           Privilege                Doc
 ID   Email Sent Date   Email From         Email To                    CC Address                         Subject Matter                                                    Type of Privilege Action      Page Count   Type

                                                                                                                                                                            Attorney
                                                                                                                                                                            Client/joint
                                                                                                                                                                            defense/commo
                                                                                                                                                                            n interest/work
47    4/8/2015 20:34    Virginia Giuffre   Smccawley@BSFLLP.com                                           Seeking legal advice related to VRS                               product         Withheld          1        msg


                                                                                                                                                                            Attorney
                                                                                                                                                                            Client/joint
                                                                                                                                                                            defense/commo
                                                                                                          Email chain with Giuffre and McCawley re advice re legal filings, n interest/work
48    4/9/2015 3:23     Virginia Giuffre   Smccawley@BSFLLP.com                                           with attachments                                                  product         Withheld          2        msg




                                                               -
                                                                                                                                                                            Attorney
                                                                                                                                                                            Client/joint
                                           StanPottinger@aol.com,bra                                                                                                        defense/commo
                                           d@pathtojustice.com,Jane Doe 2 brittany@pathtojustice.com,sperki Email chain with Giuffre, Edwards, Henderson, McCawley and      n interest/work
49    4/9/2015 7:16     Sigrid McCawley                                   ns@BSFLLP.com                     BSF staff re legal advice re media issues                       product         Withheld          2        msg


                                                                                                                                                                          Attorney
                                                                                                                                                                          Client/joint
                                                                                                                                                                          defense/commo
                                                                                                          Email chain with Giuffre, Edwards, and McCawley re legal advice n interest/work
50    4/9/2015 9:26     Brad Edwards       Smccawley@BSFLLP.com        Jane Doe 2                         re media issues                                                 product         Withheld            1        msg


                                                                                                                                                                         Attorney
                                                                                                                                                                         Client/joint
                                                                                                                                                                         defense/commo
                                                                                                          Email chain with Giuffre and McCawley re legal advice re media n interest/work
51    4/9/2015 9:33     Sigrid McCawley    Jane Doe 2                                                     issues                                                         product         Withheld             2        msg
                                                                                                                                                                            AC Privilege and
                                                                                                                                                                            Work
                                                                                                                                                                            Product/joint
                                                                                                          Conveying legal advice re draft legal documents to client, with   defense/commo
52    4/9/2015 12:46    Sigrid McCawley    Jane Doe 2                                                     attachments                                                       n interest       Withheld         1        msg




                                                            Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
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Log                                                                                                                                                                                      Privilege                Doc
 ID   Email Sent Date   Email From         Email To                CC Address                        Subject Matter                                                    Type of Privilege Action      Page Count   Type
                                                                                                                                                                       AC Privilege and
                                                                                                                                                                       Work
                                                                                                                                                                       Product/joint
                                                                                                     Conveying legal advice re draft legal documents to client, with   defense/commo
53                                                                                                   attachments                                                       n interest        Withheld       14        docx
                                                                                                                                                                       AC Privilege and
                                                                                                                                                                       Work
                                                                                                                                                                       Product/joint
                                                                                                     Conveying legal advice re draft legal documents to client, with   defense/commo
54                                                                                                   attachments                                                       n interest       Withheld        12        docx
                                                                                                                                                                       AC Privilege and
                                                                                                                                                                       Work
                                                                                                                                                                       Product/joint
                                                                                                     Conveying legal advice re draft legal documents to client, with   defense/commo
55                                                                                                   attachments                                                       n interest       Withheld         2        docx


                                                                                                                                                                       Attorney
                                                                                                                                                                       Client/joint
                                                                                                                                                                       defense/commo
                                                                   StanPottinger@aol.com,brad@pat                                                                      n interest/work
56    4/10/2015 14:59   Sigrid McCawley    Jane Doe 2              htojustice.com                 Providing legal advice re media issues                               product         Withheld          1        msg


                                                                                                                                                                       Attorney
                                                                                                                                                                       Client/joint
                                                                                                                                                                       defense/commo
                                                                                                                                                                       n interest/work
57    4/10/2015 15:37   Virginia Giuffre   Smccawley@BSFLLP.com                                      Regarding legal advice re media issues                            product         Withheld          1        msg
                                                                                                                                                                       AC Privilege and
                                                                                                                                                                       Work
                                                                   StanPottinger@aol.com,brad@pat Email chain with Giuffre, McCawley, Henderson, Edwards,              Product/joint
                                                                   htojustice.com,brittany@pathtojus Pottinger and legal assistant re legal documents, with            defense/commo
58    4/10/2015 17:31   Sigrid McCawley    Jane Doe 2              tice.com,eperez@BSFLLP.com        attachments                                                       n interest       Withheld         2        msg
                                                                                                                                                                       AC Privilege and
                                                                                                                                                                       Work
                                                                                                                                                                       Product/joint
                                                                                                                                                                       defense/commo
59                                                                                                   Attached draft legal document                                     n interest       Withheld         3        pdf


                                                         Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
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Log                                                                                                                                                                                  Privilege                Doc
 ID   Email Sent Date   Email From         Email To                CC Address                        Subject Matter                                                Type of Privilege Action      Page Count   Type
                                                                                                                                                                   AC Privilege and
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                                                                                                                                                                   Product/joint
                                                                                                                                                                   defense/commo
60                                                                                                   Attached draft legal document                                 n interest        Withheld       21        pdf


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                     Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
61    4/10/2015 17:40   Virginia Giuffre   Smccawley@BSFLLP.com                                      advice related to VRS                                            product         Withheld       2        msg


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                     Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
62    4/10/2015 19:10   Virginia Giuffre   Smccawley@BSFLLP.com                                      advice related to VRS                                            product         Withheld       2        msg


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                     Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
63    4/10/2015 19:28   Sigrid McCawley    Jane Doe 2                                                advice related to VRS                                            product         Withheld       2        msg


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                     Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
64    4/10/2015 19:33   Virginia Giuffre   Smccawley@BSFLLP.com                                      advice related to VRS                                            product         Withheld       2        msg


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                     Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
65    4/10/2015 20:03   Sigrid McCawley    Jane Doe 2                                                advice related to VRS                                            product         Withheld       2        msg




                                                         Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
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Log                                                                                                                                                                                           Privilege                Doc
 ID   Email Sent Date   Email From         Email To                        CC Address                       Subject Matter                                                  Type of Privilege Action      Page Count   Type

                                                                                                                                                                             Attorney
                                                                                                                                                                             Client/joint
                                                                                                                                                                             defense/commo
                                                                                                            Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
66    4/10/2015 20:04   Virginia Giuffre   Smccawley@BSFLLP.com                                             advice related to VRS                                            product         Withheld         2        msg


                                                                                                                                                                             Attorney
                                                                                                                                                                             Client/joint
                                                                                                                                                                             defense/commo
                                                                                                            Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
67    4/10/2015 20:04   Sigrid McCawley    Jane Doe 2                                                       advice related to VRS                                            product         Withheld         2        msg
                                                                                                                                                                            AC Privilege and
                                                                                                                                                                            Work
                                                                                                            Email chain with Giuffre, McCawley legal assistant re seeking   Product/joint
                                                                                                            and providing information sought by attorney to assist in       defense/commo
68    4/10/2015 23:46   Virginia Giuffre   Smccawley@BSFLLP.com                                             providing legal advice, with attachments                        n interest       Withheld         3        msg
                                                                                                                                                                            AC Privilege and
                                                                                                                                                                            Work
                                                                                                                                                                            Product/joint
                                                                           StanPottinger@aol.com,brad@pat Email chain with Giuffre, Pottinger, Edwards and McCawley re      defense/commo
69    4/13/2015 13:52   Sigrid McCawley    Jane Doe 2                      htojustice.com                 legal advice regarding potential public statements                n interest       Withheld         3        msg
                                                                                                                                                                            AC Privilege and
                                                                                                                                                                            Work
                                                                                                                                                                            Product/joint
                                                                                                            Email chain with Giuffre, Pottinger, Edwards and McCawley re    defense/commo
70    4/13/2015 13:56   Virginia Giuffre   Smccawley@BSFLLP.com                                             legal advice regarding media issues                             n interest       Withheld         3        msg


                                                                                                                                                                            Attorney
                                           Smccawley@BSFLLP.com,bri                                                                                                         Client/joint
                                                                    Jane
                                           ttany@pathtojustice.com,  I
                                                                 ,stan
                                                                                                                                                                            defense/commo
                                                                                                                                                                            n interest/work
71    4/14/2015 23:38   Brad Edwards       pottinger@aol.com                                                Providing legal advice related to VRS                           product         Withheld          1        msg




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Log                                                                                                                                                                                    Privilege                Doc
 ID   Email Sent Date   Email From         Email To                CC Address                        Subject Matter                                                  Type of Privilege Action      Page Count   Type

                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                     Email chain with Giuffre and McCawley re legal advice regarding n interest/work
72    4/16/2015 11:14   Virginia Giuffre   Smccawley@BSFLLP.com                                      media issues                                                    product         Withheld          2        msg


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                     Email chain with Giuffre and McCawley re legal advice regarding n interest/work
73    4/16/2015 11:47   Sigrid McCawley    Jane Doe 2                                                media issues                                                    product         Withheld          2        msg


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                                                                                     n interest/work
74    4/24/2015 19:22   Sigrid McCawley    Jane Doe 2                                                Providing legal advice re records retention, with attachments   product         Withheld          1        msg


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                                                                                     n interest/work
75                                                                                                   Attached letter providing legal advice re document retention    product         Withheld          2        pdf


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                     Email chain with Giuffre and McCawley re legal advice regarding n interest/work
76    4/24/2015 19:59   Virginia Giuffre   Smccawley@BSFLLP.com                                      potential deposition                                            product         Withheld          1        msg


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                                                                                     n interest/work
77    4/27/2015 21:20   Brad Edwards       Jane Doe 2              Smccawley@BSFLLP.com              Seeking information to assist in providing legal advice         product         Withheld          1        msg



                                                         Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
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Log                                                                                                                                                                                         Privilege                 Doc
 ID   Email Sent Date   Email From           Email To                     CC Address                     Subject Matter                                                   Type of Privilege Action       Page Count   Type
                                                                                                                                                                          AC Privilege and




                                                                          -
                                                                                                                                                                          Work
                                                                          Smccawley@BSFLLP.com,brad@pa                                                                    Product/joint
                                                                          thtojustice.com,Jane Doe 2                                                                      defense/commo
78    4/30/2015 6:42    Brittany Henderson   eperez@BSFLLP.com                                           Legal documents provided to assist in providing legal advice     n interest        Withheld         1        msg


                                                                                                                                                                          Attorney
                                                                                                                                                                          Client/joint
                                                                                                                                                                          defense/commo
                                                                                                         Email chain with Giuffre, Henderson and paralegal re seeking     n interest/work
79    4/30/2015 7:02    Brittany Henderson   Jane Doe 2                                                  and providing information to assist in providing legal advice    product         Withheld           2        msg
                                                                                                                                                                             AC Privilege and
                                                                                                                                                                             Work
                                                                                                         Email chain with Giuffre, Henderson, Edwards, McCawley and          Product/joint
                                                                                                         legal assistant re seeking information to assist in providing legal defense/commo
80    4/30/2015 7:05    Virginia Giuffre     brittany@pathtojustice.com                                  advice                                                              n interest       Withheld       2        msg
                                                                                                                                                                             AC Privilege and
                                                                                                                                                                             Work
                                                                                                         Email chain with Giuffre, Henderson, Edwards, McCawley and          Product/joint
                                                                                                         legal assistant re seeking information to assist in providing legal defense/commo
81    5/4/2015 20:04    Virginia Giuffre     brittany@pathtojustice.com                                  advice, with attachment                                             n interest       Withheld       2        msg
                                                                                                                                                                          AC Privilege and
                                                                                                                                                                          Work
                                                                                                         Email chain with McCawley, Giuffre, Edwards, Pottinger,          Product/joint
                                                                                                         Henderson and Paralegal re seeking and providing information     defense/commo
82    5/11/2015 18:20   Sigrid McCawley      Jane Doe 2                   Smccawley@BSFLLP.com           to assist in legal advice, with attachments                      n interest       Withheld          1        msg
                                                                                                                                                                          AC Privilege and
                                                                                                                                                                          Work
                                                                                                         Email chain with Giuffre, McCawley, Edwards, Pottinger and       Product/joint
                                                                                                         Paralegal re seeking information to assist in providing legal    defense/commo
83    5/11/2015 18:34   Virginia Giuffre     Smccawley@BSFLLP.com                                        advice re potential litigation                                   n interest       Withheld          2        msg
                                                                                                                                                                          AC Privilege and
                                                                                                                                                                          Work
                                                                                                                                                                          Product/joint
                                                                                                         Email chain with Giuffre and McCawley re case research, with     defense/commo
84    5/11/2015 18:40   Sigrid McCawley      Jane Doe 2                                                  attachment                                                       n interest       Withheld          2        msg




                                                             Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
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Log                                                                                                                                                                                       Privilege                Doc
 ID   Email Sent Date   Email From         Email To                        CC Address                  Subject Matter                                                   Type of Privilege Action      Page Count   Type
                                                                                                                                                                        AC Privilege and
                                                                                                                                                                        Work
                                                                                                                                                                        Product/joint
                                                                    Jane



85    5/11/2015 18:45   Sigrid McCawley
                                           brad@pathtojustice.com,  I                                  Providing and seeking information to assist in legal advice re
                                                                                                       potential legal action, with attachment
                                                                                                                                                                        defense/commo
                                                                                                                                                                        n interest        Withheld        1        msg


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                       Email chain with Giuffre and McCawley re seeking information     n interest/work
86    5/11/2015 18:47   Virginia Giuffre   Smccawley@BSFLLP.com                                        to assist in providing legal advice re potential litigation      product         Withheld          1        msg
                                                                                                                                                                        AC Privilege and
                                                                                                                                                                        Work
                                                                                                       Email chain with Giuffre, McCawley, Edwards, Pottinger and       Product/joint
                                                                                                       Paralegal re seeking information to assist in providing legal    defense/commo
87    5/11/2015 18:56   Virginia Giuffre   brad@pathtojustice.com                                      advice re potential litigation                                   n interest       Withheld         2        msg


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                                                                                        n interest/work
88    5/17/2015 22:37   Sigrid McCawley    Jane Doe 2                                                  Providing litigation documents to client, with attachments       product         Withheld          3        msg
                                                                                                                                                                        AC Privilege and
                                                                                                                                                                        Work
                                                                                                                                                                        Product/joint
                                                                                                                                                                        defense/commo
89                                                                                                     Attached draft legal agreement                                   n interest       Withheld        10        pdf


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                                                                                        n interest/work
90    5/17/2015 22:40   Sigrid McCawley    Jane Doe 2                                                  Providing legal advice re legal agreement, with attachment       product         Withheld          1        msg
                                                                                                                                                                        AC Privilege and
                                                                                                                                                                        Work
                                                                                                                                                                        Product/joint
                                                                                                                                                                        defense/commo
91    5/18/2015 18:40   Virginia Giuffre   Smccawley@BSFLLP.com                                        Discussion of confidential agreement, with attachments           n interest       Withheld         1        msg

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Log                                                                                                                                                                                  Privilege                Doc
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                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                                                                                   n interest/work
92                                                                                                   Attached confidential agreement page                          product         Withheld          1        jfif


                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                                                                                   n interest/work
93                                                                                                   Attached confidential agreement page                          product         Withheld          1        jfif


                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                                                                                   n interest/work
94    6/5/2015 19:16    Sigrid McCawley    Jane Doe 2                                                Conveying attorney mental impression regarding hearing        product         Withheld          1        msg


                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                     Email chain with Giuffre and McCawley re attorney mental      n interest/work
95    6/6/2015 17:20    Virginia Giuffre   Smccawley@BSFLLP.com                                      impression regarding hearing                                  product         Withheld          1        msg


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                                                                                      n interest/work
96    6/25/2015 2:26    Sigrid McCawley    Jane Doe 2                                                Providing advice re status and strategy of ongoing legal matters product         Withheld       6        msg


                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                     Discussion with S. McCawley regarding file related to         n interest/work
97    7/17/2015 14:19   Sigrid McCawley    Jane Doe 2              eperez@BSFLLP.com                 representation by B. Josefsberg                               product         Withheld          4        msg



                                                         Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
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Log                                                                                                                                                                                     Privilege                Doc
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                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                     Providing information to assist in legal advice re potential     n interest/work
98    7/27/2015 21:53   Virginia Giuffre   Smccawley@BSFLLP.com                                      litigation                                                       product         Withheld          1        msg


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                                                                                      n interest/work
99    7/29/2015 19:45   Sigrid McCawley    Jane Doe 2              StanPottinger@aol.com             Conveying legal advice on media issues                           product         Withheld          1        msg
                                                                                                                                                                      AC Privilege and
                                                                                                                                                                      Work
                                                                                                                                                                      Product/joint
                                                                                                     Email chain with Giuffre, McCawley and paralegals re             defense/commo
100   8/5/2015 19:51    Sigrid McCawley    Jane Doe 2                                                information sought to assist in providing legal advice           n interest       Withheld         1        msg
                                                                                                                                                                      AC Privilege and
                                                                                                                                                                      Work
                                                                                                     Email chain with Giuffre, McCawley, legal intern and paralegal   Product/joint
                                                                                                     re seeking information to assist in providing legal advice re    defense/commo
101    8/6/2015 2:14    Sigrid McCawley    Jane Doe 2                                                potential litigation                                             n interest       Withheld         2        msg
                                                                                                                                                                      AC Privilege and
                                                                                                                                                                      Work
                                                                                                     Email chain with Giuffre, McCawley, legal intern, Edwards and    Product/joint
                                                                                                     paralegal re seeking information to assist in providing legal    defense/commo
102    8/6/2015 2:45    Sigrid McCawley    Jane Doe 2              brad@pathtojustice.com            advice re potential litigation                                   n interest       Withheld         2        msg
                                                                                                                                                                      AC Privilege and
                                                                                                                                                                      Work
                                                                                                     Email chain with Giuffre, McCawley, legal intern and paralegal   Product/joint
                                                                                                     re seeking information to assist in providing legal advice re    defense/commo
103    8/6/2015 2:55    Virginia Giuffre   Smccawley@BSFLLP.com                                      potential litigation                                             n interest       Withheld         2        msg
                                                                                                                                                                      AC Privilege and
                                                                                                                                                                      Work
                                                                                                                                                                      Product/joint
                                                                   Smccawley@BSFLLP.com,brad@pa Email chain with McCawley, Giuffre, and Paralegals re seeking         defense/commo
104    8/6/2015 3:48    Sigrid McCawley    Jane Doe 2              thtojustice.com              information to assist in legal advice, with attachments               n interest       Withheld         2        msg


                                                         Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
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Log                                                                                                                                                                                              Privilege                Doc
 ID   Email Sent Date   Email From         Email To                      CC Address                         Subject Matter                                                     Type of Privilege Action      Page Count   Type
                                                                                                                                                                               AC Privilege and
                                                                                                                                                                               Work
                                                                                                            Email chain with Giuffre, McCawley, legal intern and paralegal     Product/joint
                                                                                                            re seeking information to assist in providing legal advice re      defense/commo
105    8/6/2015 3:51    Virginia Giuffre   Smccawley@BSFLLP.com                                             potential litigation                                               n interest        Withheld        2        msg
                                                                                                                                                                               AC Privilege and
                                                                                                                                                                               Work
                                                                                                                                                                               Product/joint
                                                                         brad@pathtojustice.com,brittany@ Providing and seeking information to assist in legal advice re       defense/commo
106   9/1/2015 18:54    Sigrid McCawley    Jane Doe 2                    pathtojustice.com                potential legal action, with attachment                              n interest       Withheld         2        msg


                                                                                                                                                                               Attorney
                                                                                                                                                                               Client/joint
                                           brad@pathtojustice.com,sm                                                                                                           defense/commo
                                           ccawley@bsfllp.com,stanpot                                       Providing information sought by attorneys to provide legal         n interest/work
107   9/7/2015 18:24    Virginia Giuffre   tinger@aol.com                                                   advice, with attachment                                            product         Withheld          1        msg
                                                                                                                                                                               AC Privilege and
                                                                                                                                                                               Work
                                                                                                                                                                               Product/joint
                                                                                                            Attached Information sought by attorneys to provide legal          defense/commo
108                                                                                                         advice                                                             n interest       Withheld         4        docx


                                                                                                                                                                               Attorney
                                                                                                                                                                               Client/joint
                                                                  Jane
                                           brad@pathtojustice.com,I
                                                                 stan
                                                                                                            Email chain with Giuffre, Edwards, Pottinger and McCawley re
                                                                                                            collection of information to assist in providing legal advice re
                                                                                                                                                                               defense/commo
                                                                                                                                                                               n interest/work
109   9/7/2015 18:58    Sigrid McCawley    pottinger@aol.com                                                potential litigation                                               product         Withheld          1        msg


                                                                                                                                                                          Attorney
                                                                                                                                                                          Client/joint
                                                                                                                                                                          defense/commo
                                                                                                            Email chain with Giuffre and McCawley re draft legal document n interest/work
110   9/15/2015 21:58   Virginia Giuffre   Smccawley@BSFLLP.com                                             relating to litigation                                        product         Withheld               1        msg




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Log                                                                                                                                                                                  Privilege                Doc
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                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                     Email chain with Giuffre and McCawley re draft legal document n interest/work
111   9/15/2015 22:04   Sigrid McCawley    Jane Doe 2                                                relating to litigation                                        product         Withheld          2        msg


                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                     Email chain with Giuffre and McCawley re draft legal document n interest/work
112   9/15/2015 22:07   Virginia Giuffre   Smccawley@BSFLLP.com                                      relating to litigation                                        product         Withheld          2        msg


                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                                                                                   n interest/work
113   9/20/2015 12:15   Sigrid McCawley    Jane Doe 2              brad@pathtojustice.com            Conveying information about potential legal action.           product         Withheld          1        msg


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                                                                                      n interest/work
114   9/20/2015 14:47   Virginia Giuffre   Smccawley@BSFLLP.com                                      Email chain with Giuffre and McCawley re potential legal action. product         Withheld       1        msg


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                                                                                      n interest/work
115   9/20/2015 19:16   Virginia Giuffre   Smccawley@BSFLLP.com                                      Email chain with Giuffre and McCawley re potential legal action. product         Withheld       1        msg


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                                                                                      n interest/work
116   9/20/2015 19:29   Sigrid McCawley    Jane Doe 2                                                Email chain with Giuffre and McCawley re potential legal action. product         Withheld       2        msg



                                                         Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
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Log                                                                                                                                                                                  Privilege                Doc
 ID   Email Sent Date   Email From         Email To                CC Address                        Subject Matter                                                Type of Privilege Action      Page Count   Type

                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                                                                                      n interest/work
117   9/20/2015 19:30   Virginia Giuffre   Smccawley@BSFLLP.com                                      Email chain with Giuffre and McCawley re potential legal action. product         Withheld       2        msg
                                                                                                                                                                   AC Privilege and
                                                                                                                                                                   Work
                                                                                                                                                                   Product/joint
                                                                                                                                                                   defense/commo
118   9/21/2015 14:48   Sigrid McCawley    Jane Doe 2                                                Communication re initiation of lawsuit, with attachments      n interest       Withheld         1        msg
                                                                                                                                                                   AC Privilege and
                                                                                                                                                                   Work
                                                                                                                                                                   Product/joint
                                                                                                                                                                   defense/commo
119                                                                                                  Attached draft legal document relating to litigation          n interest       Withheld        12        pdf


                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                                                                                   n interest/work
120                                                                                                  Attached draft legal document relating to litigation          product         Withheld          2        pdf


                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                                                                                   n interest/work
121                                                                                                  Attached draft legal document relating to litigation          product         Withheld          2        pdf


                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                                                                                   n interest/work
122                                                                                                  Attached draft legal document relating to litigation          product         Withheld          3        pdf




                                                         Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
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Log                                                                                                                                                                                                      Privilege                   Doc
 ID      Email Sent Date     Email From                  Email To                         CC Address                   Subject Matter                                                  Type of Privilege Action       Page Count     Type

                                                                                                                                                                                        Attorney
                                                                                                                                                                                        Client/joint
                                                                                                                                                                                        defense/commo
                                                                                                                                                                                        n interest/work
123     9/21/2015 14:51      Virginia Giuffre            Smccawley@BSFLLP.com                                          Email chain with Giuffre and McCawley re potential legal action. product         Withheld           1         msg




                                                                                                                       Plaintiff has objected that Defendant’s requests are overly
                                                                                                                       broad and unduly burdensome, as individually logging all
                                                                                                                       privileged responsive documents would be overly burdensome.
                                                                                                                       Plaintiff contends that requests targeting such privileged
                                                                                                                       information are not reasonably calculated to lead to the
                                                                                                                       discovery of admissible evidence, are not important to resolving
                                                                                                                       the issues, are not relevant to any party’s claim or defense, are
                                                                                                                       not proportional to the needs of the case, and creates a heavy
                                                                                                                       burden on Plaintiff that outweighs its benefit. Therefore,
                                                                                                                       Plaintiff has employed categorical logging pursuant to Local Civil
                                                                                                                       Rule 26.2(c). Correspondence re: Jane Doe #1 and Jane Doe #2
                             Virginia Giuffre, Brad
                                                                                                                       v. United States ("CVRA case"), Case no. 08-80736-CIV-Marra,
                             Edwards, Paul Cassell,
                                                                                                                       pending in the Southern District of Florida. Documents withheld
                             Brittany Henderson (and     Virginia Giuffre, Brad
                                                                                                                       pursuant to the privileges asserted included communications
                             other , Sigrid McCawley,    Edwards, Paul Cassell,
                                                                                                                       from Ms. Giuffre to the attorneys listed seeking legal advice
                             Meredith Schultz, David     Brittany Henderson, Sigrid
                                                                                                                       related to the CVRA case, communications from the attorneys
                             Boies, Jack Scarola, Stan   McCawley, Meredith
                                                                                                                       to Ms. Giuffre giving legal advice or giving attorney mental
                             Pottinger, Ellen            Schultz, David Boies, Jack
                                                                                                                       impressions related to the CVRA case, communications sending
                             Brockman, Legal             Scarola, Stan Pottinger, Ellen
                                                                                                                       or attaching attorney work product related to the CVRA case,
                             Assistants, Professionals   Brockman, Legal Assistants,                                                                                                      AC Privilege and            Approx. 1.3K
                                                                                                                       and/or communications sending or attaching client revisions to
                             retained by attorneys to    Professionals retained by                                                                                                        Work                            docs
                                                                                                                       attorney work product related to the CVRA case, and
        Emails, letters, and aid in the rendition of     attorneys to aid in the                                                                                                          Product/joint               overlapping
                                                                                                                       communications re evidence.
      other communications legal advice and              rendition of legal advice and                                                                                                    defense/commo                with other
125    from 2011 - Present representation                representation                                                                                                                   n interest       Withheld      cases




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Log                                                                                                                                                                                                      Privilege                   Doc
 ID      Email Sent Date      Email From                 Email To                        CC Address                    Subject Matter                                                  Type of Privilege Action       Page Count     Type




                                                                                                                       Plaintiff has objected that Defendant’s requests are overly
                                                                                                                       broad and unduly burdensome, as individually logging all
                                                                                                                       privileged responsive documents would be overly burdensome.
                                                                                                                       Plaintiff contends that requests targeting such privileged
                                                                                                                       information are not reasonably calculated to lead to the
                                                                                                                       discovery of admissible evidence, are not important to resolving
                                                                                                                       the issues, are not relevant to any party’s claim or defense, are
                                                                                                                       not proportional to the needs of the case, and creates a heavy
                                                                                                                       burden on Plaintiff that outweighs its benefit. Therefore,
                                                                                                                       Plaintiff has employed categorical logging pursuant to Local Civil
                             Virginia Giuffre, Brad                                                                    Rule 26.2(c). Correspondence re: Giuffre v. Maxwell (“Maxwell
                             Edwards, Paul Cassell,                                                                    case”), 15-cv-07433-RWS, pending in the Southern District of
                             Brittany Henderson,         Virginia Giuffre, Brad                                        New York, since the date of filing, September 21, 2015.
                             Sigrid McCawley,            Edwards, Paul Cassell,                                        Documents withheld pursuant to the privileges asserted
                             Meredith Schultz, David     Brittany Henderson, Sigrid                                    included communications from Ms. Giuffre to the attorneys
                             Boies, Stephen Zach,        McCawley, Meredith                                            listed seeking legal advice related to the Maxwell case,
                             Stan Pottinger, Ellen       Schultz, David Boies,                                         communications from the attorneys to Ms. Giuffre giving legal
                             Brockman, Legal             Stephen Zach, Stan                                            advice or giving attorney mental impressions related to the
                             Assistants, Professionals   Pottinger, Ellen Brockman,                                    Maxwell case, communications sending or attaching attorney         AC Privilege and            Approx. 1.3K
                             retained by attorneys to    Legal Assistants,                                             work product related to the Maxwell case, and/or                   Work                            docs
        Emails, letters, and aid in the rendition of     Professionals retained by                                     communications sending or attaching client revisions to            Product/joint               overlapping
      other communications legal advice and              attorneys to aid in the                                       attorney work product related to the Maxwell case, and             defense/commo                with other
126   from 9/21/15 - Present representation              rendition of legal advice and                                 communications re evidence.                                        n interest       Withheld      cases




                                                                           Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
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                                                                                                                       Plaintiff has objected that Defendant’s requests are overly
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                                                                                                                       Plaintiff has employed categorical logging pursuant to Local Civil
                             Virginia Giuffre, Brad                                                                    Rule 26.2(c). Correspondence re: Bradley Edwards and Paul
                             Edwards, Paul Cassell,                                                                    Cassell v. Alan Dershowitz (“Dershowitz case”), Case no. 15-
                             Brittany Henderson,         Virginia Giuffre, Brad                                        000072, pending in the Seventeenth Judicial Circuit, Broward
                             Sigrid McCawley,            Edwards, Paul Cassell,                                        County, Florida. Documents withheld pursuant to the privileges
                             Meredith Schultz, David     Brittany Henderson, Sigrid                                    asserted included communications from Ms. Giuffre to the
                             Boies, Stephen Zach,        McCawley, Meredith                                            attorneys listed seeking legal advice related to the Dershowitz
                             Stan Pottinger, Ellen       Schultz, David Boies,                                         case, communications from the attorneys to Ms. Giuffre giving
                             Brockman, Legal             Stephen Zach, Stan                                            legal advice or giving attorney mental impressions related to the
                             Assistants, Professionals   Pottinger, Ellen Brockman,                                    Dershowitz case, communications sending or attaching attorney AC Privilege and              Approx. 1.3K
        Emails, letters, and retained by attorneys to    Legal Assistants,                                             work product related to the Dershowitz case, and/or                Work                         docs
      other communications aid in the rendition of       Professionals retained by                                     communications sending or attaching client revisions to            Product/joint            overlapping
       from January 2015 - legal advice and              attorneys to aid in the                                       attorney work product related to the Dershowitz case, and          defense/commo             with other
127          Present         representation              rendition of legal advice and                                 communications re evidence.                                        n interest    Withheld      cases




                                                                           Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
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Log                                                                                                                                                                                                            Privilege                   Doc
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                                                                                                                            Plaintiff has objected that Defendant’s requests are overly
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                                                                                                                            Plaintiff contends that requests targeting such privileged
                                                                                                                            information are not reasonably calculated to lead to the
                                                                                                                            discovery of admissible evidence, are not important to resolving
                                                                                                                            the issues, are not relevant to any party’s claim or defense, are
                                                                                                                            not proportional to the needs of the case, and creates a heavy
                                                                                                                            burden on Plaintiff that outweighs its benefit. Therefore,
                                                                                                                            Plaintiff has employed categorical logging pursuant to Local Civil
                                                                                                                            Rule 26.2(c). Correspondence re: Jane Doe No. 102 v. Jeffrey
                                                                                                                            Epstein (“Epstein case”), Case No. 09-80656-CIV-Marra/Johnson
                                                                                                                            (Southern District of Florida). Documents withheld pursuant to
                                                                                                                            the privileges asserted included communications from Ms.
                             Virginia Giuffre, Bob     Virginia Giuffre, Bob                                                Giuffre to the attorneys listed seeking legal advice related to the
                             Josefsberg, Katherine W. Josefsberg, Katherine W.                                              Epstein case, communications from the attorneys to Ms. Giuffre
                             Ezell, Amy Ederi, other   Ezell, Amy Ederi, other                                              giving legal advice or giving attorney mental impressions related
                             Podhurst attorneys,       Podhurst attorneys, Legal                                            to the Epstein case, communications sending or attaching            AC Privilege and            Approx. 1.3K
                             Legal Assistants, and     Assistants, and Professionals                                        attorney work product related to the Epstein case, and/or           Work                            docs
        Emails, letters, and Professionals retained by retained by attorneys to aid                                         communications sending or attaching client revisions to             Product/joint               overlapping
      other communications attorneys to aid in the     in the rendition of legal                                            attorney work product related to the Epstein case, and              defense/commo                with other
128    from 2009 - Present rendition of legal advice advice                                                                 communications re evidence.                                         n interest       Withheld      cases
                                                                                                                            Email chain with Giuffre and McCawley seeking information to
129        6/10/2015          Virginia Giuffre         Jane Doe 2                                                           assist with attorney advice.                                        Attorney Client Withheld         2         msg

                                                                                                                            Letter from Virginia Giuffre to David Boies conveying requested AC Privilege and




                                                                                       -
130                                                                                                                         information to assist in providing legal advice.                Work Product     Withheld           26         pdf
                                                                                       Smccawley@BSFLLP.com,brad@pa
                                                                                       thtojustice.com,Jane Doe 2                                                                            AC Privilege and
131        4/30/2015          Brittany Henderson       eperez@BSFLLP.com                                                    Communication re VRS registrations                               Work Product     Withheld           1         msg
                                                                                       Smccawley@BSFLLP.com,brad@pa
                                                                                       thtojustice.com,garvin@lclark.edu, Email chain with McCawley, Edwards, Garvin, Henderson,             AC Privilege and
132        4/29/2015          Andres Ortiz             bh699@nova.edu                  Jane Doe 2                         Giuffre and BSF staff re legal advice re VRS communications.       Work Product     Withheld           1         msg
                                                                                       Smccawley@BSFLLP.com,brad@pa
                                                                                       thtojustice.com,garvin@lclark.edu,                                                                    AC Privilege and
133        4/29/2015          brittany henderson       aortiz@BSFLLP.com               Jane Doe 2                           Communication re legal advice re VRS communications.             Work Product     Withheld           1         msg

                                                                         Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
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Log                                                                                                                                                                                          Privilege                Doc
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                                                                        Smccawley@BSFLLP.com,brittany Email chain with Cassell, McCawley, Edwards, Garvin, Beloof,
                                                                        @pathtojustice.com,eperez@BSFLL Henderson, Giuffre and BSF staff re legal advice re VRS            AC Privilege and




                                                                     -
134     4/17/2015       Paul Cassell        brad@pathtojustice.com      P.com,Jane Doe 2                registrations.                                                     Work Product     Withheld         5        msg
                                                                       brittany@pathtojustice.com,eperez Email chain with Cassell, McCawley, Edwards, Garvin, Beloof,
                                            brad@pathtojustice.com,cas @BSFLLP.com,Jane Doe 2            Henderson, Giuffre and BSF staff re legal advice re VRS           AC Privilege and
135     4/17/2015       Sigrid McCawley     sellp@law.utah.edu                                           registrations.                                                    Work Product     Withheld         4        msg

                                                                        Smccawley@BSFLLP.com,brittany Email chain with Cassell, McCawley, Edwards, Garvin, Beloof,
                                                                        @pathtojustice.com,eperez@BSFLL Henderson, Giuffre and BSF staff re legal advice re VRS            AC Privilege and
136     4/17/2015       Brad Edwards        cassellp@law.utah.edu       P.com,Jane Doe 2                registrations.                                                     Work Product     Withheld         4        msg

137     2/26/2015       Sigrid McCawley     Jane Doe 2                                                     Email chain with Giuffre and McCawley re non-testifying expert. Attorney Client   Withheld        1        msg




                                                                    -
138     2/26/2015       Sigrid McCawley     Jane Doe 2                                                     Communication re non-testifying expert.                         Attorney Client   Withheld        1        msg
                                                                                                           Email chain with Giuffre, McCawley, Edwards, Pottinger and BSF
139     2/11/2016       Sigrid McCawley     Jane Doe 2                                                     staff re media communications.                                  Attorney Client   Redacted        3        msg
                                                                 Jane Doe 2
                                            StanPottinger@aol.com           Lcarlsen@BSFLLP.com,brad@patht Email chain with Giuffre, McCawley, Edwards, Pottinger and BSF
140     2/11/2016       Sigrid McCawley                                     ojustice.com                   staff re media communications.                                  Attorney Client   Redacted        3        msg
                                                                        Lcarlsen@BSFLLP.com,Smccawley
                                                                        @BSFLLP.com,brad@pathtojustice. Email chain with Giuffre, McCawley, Edwards, Pottinger and BSF
141     2/11/2016       StanPottinger@aol.com Jane Doe 2                com                             staff re media communications.                                 Attorney Client       Redacted        3        msg
                                                                                                        Email chain with Giuffre and Pottinger re media
142     2/9/2016        StanPottinger@aol.com Jane Doe 2                                                communications.                                                Attorney Client       Redacted        2        msg

                                                                                                            Letter from Virginia Giuffre to David Boies conveying requested AC Privilege and
143                                                                                                         information to assist in providing legal advice.                Work Product     Withheld       26        pdf

                                                                                                            Letter from Virginia Giuffre to David Boies conveying requested AC Privilege and
144                                                                                                         information to assist in providing legal advice.                Work Product     Withheld       23        docx

145     6/10/2015       Virginia Giuffre    Jane Doe 2                                                      Email chain with Giuffre and McCawley re ongoing litigation.   Attorney Client   Withheld        2        msg
                                                                     Smccawley@BSFLLP.com,bh699@n
                                                                     ova.edu,brad@pathtojustice.com,g Email chain with Henderson, McCawey, Edwards, Garvin and
146     4/29/2015       Virginia Giuffre    aortiz@BSFLLP.com        arvin@lclark.edu                 BSF staff re VRS communications.                                     Attorney Client   Withheld        2        msg
                                                                                                      Email chain with Boylan, Giuffre, McCawley, and BSF staff re
147     4/10/2015       Virginia Giuffre    rebecca.boylan@yahoo.com                                  legal advice re VRS registrations.                                   Attorney Client   Withheld        2        msg
148     2/26/2015       Virginia Giuffre    Smccawley@BSFLLP.com                                      Email confirming legal advice re non-testifying expert.              Attorney Client   Withheld        1        msg


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Log                                                                                                                                                                                                         Privilege                  Doc
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                                                                                                                      Email chain with Giuffre and Pottinger re media
149        2/11/2015          Virginia Giuffre           StanPottinger@aol.com                                        communications                                                      Attorney Client   Redacted         3         msg
                                                                                                                      Email chain with Giuffre, McCawley, Pottinger and BSF staff re
150        2/11/2015          Virginia Giuffre           Smccawley@BSFLLP.com                                         media communications.                                               Attorney Client   Redacted         3         msg

                                                                                                                                                                                          AC Privilege and
151        1/13/2015          Virginia Giuffre           StanPottinger@aol.com                                        Email chain with Pottinger and Giuffre re anticipated litigation.   Work Product     Withheld          1         msg

                                                                                                                      Plaintiff has objected that Defendant’s requests are overly
                                                                                                                      broad and unduly burdensome, as individually logging all
                                                                                                                      privileged responsive documents would be overly
                                                                                                                      burdensome. Plaintiff contends that requests targeting
                                                                                                                      such privileged information are not reasonably calculated
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                                                                                                                      party’s claim or defense, are not proportional to the
                                                                                                                      needs of the case, and creates a heavy burden on Plaintiff
                                                                                                                      that outweighs its benefit. Therefore, Plaintiff has
                                                                                                                      employed categorical logging pursuant to Local Civil Rule
                                                                                                                      26.2(c). This categorical entry is regarding correspondence
                                                                                                                      re potential legal action against entities and individuals.
                             Virginia Giuffre, Brad                                                                   Documents withheld pursuant to the privileges asserted
                             Edwards, Paul Cassell,      Virginia Giuffre, Brad                                       included communications from Ms. Giuffre to the
                             Brittany Henderson,         Edwards, Paul Cassell,                                       attorneys listed seeking legal advice related to potential
                             Sigrid McCawley,            Brittany Henderson, Sigrid                                   law suits, communications from the attorneys to Ms.
                             Meredith Schultz, David     McCawley, Meredith
                                                                                                                      Giuffre giving legal advice or giving attorney mental
                             Boies, Stephen Zach,        Schultz, David Boies,
                                                                                                                      impressions related to the law suits, communications
                             Stan Pottinger, Ellen       Stephen Zach, Stan
                             Brockman, Legal             Pottinger, Ellen Brockman,                                   sending or attaching attorney work product related to       AC Privilege and
        Emails, letters, and Assistants, Professionals   Legal Assistants,                                            potential lawsuits, and/or communications sending or        Work                                  Approx. 1.3K
      other communications retained by attorneys to      Professionals retained by                                    attaching client revisions to attorney work product related Product/joint                         overlapping
       from January 2015 - aid in the rendition of       attorneys to aid in the                                      to potential lawsuits, and communications re evidence.      defense/commo                          with other
152          Present         legal advice                rendition of legal advice                                                                                                        n interest        Withheld       cases




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Log                                                                                                                                                                                                Privilege                Doc
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                                                                                                                   important to resolving the issues, are not relevant to any
                                                                                                                   party’s claim or defense, are not proportional to the
                                                                                                                   needs of the case, and creates a heavy burden on Plaintiff
                         The law enforcement                                                                       that outweighs its benefit. Therefore, Plaintiff has
                         entity, Virginia Giuffre,   The law enforcement entity,                                   employed categorical logging pursuant to Local Civil Rule
                         David Boies, Stan           Virginia Giuffre, David Boies,                                26.2(c). This categorical entry is regarding correspondence
                         Pottinger, Sigrid           Stan Pottinger, Sigrid
                                                                                                                   re the currently ongoing criminal investigation of
      Email and letter   McCawley, Paul Cassell,     McCawley, Paul Cassell, Brad                                                                                                                              approx. 57
                                                                                                                   Defendant and others.
153   communications     Brad Edwards                Edwards                                                                                                                     Public Interest   Withheld    documents




                                                                       Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated May 27, 2016
